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                        IN THE LTNITED STATES DISTzuCT COURT
                        FOR THE NORTIIERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

LINITED STATES OF AMERICA

                                                    No.4'.Lo-W-WV'P
CHAzuTY CANTU (01)

                                      FACTUAL RESUME

                                                    olthe information. The information
         The delendant is pleading guilty to count one
charges use of a facility of interstate commerce in aid of a racketeering enterprise, in
violation of 18 U.S.C. $$ 1952(a)(3) and (A).

                                     MAXIMUM PENALTY

a        imprisonment for   a   period not to exceed five years;

b.       a fine not to exceed $250,000, or twice any pecuniary gain to the defendant or loss
to the victim(s);


c.      term of supervised release of not more than 3 years, which is mandatory under the
         a
law and will follow any term of imprisonment. If the defendant violates the conditions of
supervised release, the defendant could be imprisoned for the entire term of supervised
release;


d.       a mandatory special assessment      of$100;

e.     restitution to victims or to the community, which may be mandatory under the law,
and which the defendant agrees may include restitution arising from all relevant conduct,
not limited to that arising from the offense of conviction alone;


f.       costs of incarceration and supervision; and


         forfeiture of property



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                              ELEMENTS OFTHE OFFENSE

       In order to prove the offense alleged in count one of the superseding information,

the govemment must prove each of the following elements beyond a reasonable doubt:

         First.         That the defendant used or caused to be used a facility in interstate
                        or foreign commerce;

         Second.        That the defendant did so with the intent to promote, manage,
                        establish, carry on, or facilitate the promotion, management,
                        establishment or carrying on, of any unlawful activity; and

         Third.         That subsequent to the use of a facility of interstate or foreign
                        commerce, the defendant did knowingly and willfully promote,
                        manage, establish, or carry on such unlawful activity.l


                                    STIPULATED FACTS

         Charity Cantu admits that beginning on or about July of 2019, and continuing
through on or about October 12,2019, the exact dates being unknown, in the Fort Worth
Division of the Northem District of Texas and elsewhere, she used facilities in interstate
commerce, namely cellular phones, hotels and the intemet, with the intent to promote,
manage, establish, carry on and facilitate the promotion, management, establishment and
carrying on of an unlawful activity, that is a business enterprise involving compelling
prostitution in violation of Texas Penal Code Sec. 43.05(a)(2), and thereafter performed
and attempted to perfom an act to promote, manage, establish and calry on, and to
facilitate the promotion, management, establishment and canying on of such unlawful
activity.

        On October 12,2019,1aw enforcement observed on the intemet an advertisement
offering sex for a fee on an escort website, Escort Alligator.com. The advertisement was
titled "No Condom Sex" and displayed photographs of two different black females
dressed in lingerie. On one of the pictures of a black female there was text that stated
"ASK ABOUT MY TWO GIRL SHOW". The ad also contained a cellular telephone
contact number.


I The unlawful activity Charity Cantu furthered was a criminal enterprise involving compelling
prostitution, which is a violation ofTexas Penal Code Section 43.05(a)(2). One violates Texas Penal
Code Section 43.05(a)(2) by knowingly causing by any means a child younger than 18 years to commit
prostitution, regardless ofwhether the defendant knows the age ofthe child at the time.




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        In an undercover capacity and using a cellular telephone, law enforcement
arranged for the two females to travel to room 126 of the Fairfield Inn located 6851 West
Freeway, Fort Worth, Texas lor the purported purpose of engaging in sexual intercourse
for a fee of $300 for one hour.

       Upon arrival, Cantu and MVl, the same individuals depicted in the
advertisement, proceeded to room 126 where law enforcement detained them. Law
enforcement ascertained that MVI was seventeen years-old. Cantu stated that she and
MV1 had been engaged in prostitution for a period of three months prior to October 12,
2019. Cantu advised that when she retumed to Fort Worth after a trip to Washington
D.C. another individual, W.S., introduced MVl to Cantu. W.S. told Cantu that Cantu
was to groom and train MV1 as a prostitute. W.S. would pay for the hotel rooms that
were utilized for sex acts. Cantu and MV1 lived in a hotel room from late July 2019
through October 2019. Cantu explained that both she and W.S. knew that MVI was
under the age of eighteen. At the direction of W.S., Cantu mentored MVl inhowto
engage in prostitution. Cantu provided MV1 with clothing, hygiene items, food, and
having her hair and make-up done. Cantu told law enforcement that she posted
advertisements for sex on the internet using her cell phone. Cantu also utilized hotels to
meet customers for commercial sex acts, at times including MV1. Most of the cash
received from the customers of Cantu was transferred to W.S.

       The defendant agrees that the defendant committed all the essential elements of
the offense. This factual resume is not intended to be a complete accounting of all the
facts and events related to the offense charged in this case. The limited purpose of this
statement of facts is to demonstrate that a factual basis exists to support the defendant's
guilty plea to count one of the information.

                                                              r"-
AGREED TO AND STIPULATED on this              Zl   day   of   \e     I LtL-t          2020.


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CHARITY CAN                                        BROOK ANTONIO
Delendant                                          Counsel for Delendant




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